                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO


 Finance of America Reverse, LLC.                  CIVIL ACTION NO.:

 Plaintiff

                v.

 The Estate Asunción Olmeda Martínez
 a/k/a Asunción Olmeda composed of
 Francisco Rodríguez Olmeda and John
 Doe; Departamento de Hacienda; Centro
 de Recuadaciones de Ingresos Municipales;
 United States of America;

 Defendants

                                     SUMMONS IN A CIVIL ACTION

To:   Francisco Rodríguez Olmeda
Address: SR-171, La Lineal Sect. Rincon, Cidra, PR 00739

A lawsuit has been filed against you.
Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) - or 90 days in a Social Security Action - you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
                                            Joel A. Figueroa Rivera
                                              USCD-PR: 302803
                                       GLS LEGAL SERVICES, LLC
                                             Attorneys for Plaintiff
                                        figueroa@glslegalservices.com
                                               P.O. Box 367308
                                             San Juan, P.R. 00936
                                    Tel. 787-758-6550; Fax. 787-758-6554

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           FRANCES RIOS DE MORAN, ESQ.
                                                                                      CLERK OF COURT

Date: ______________________________                                      ______________________________
                                                                            Signature of Clerk or Deputy Clerk
                                        PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

      This summons for (name of individual and title, if any)___________________________
_______________________________ was received by me on (date) _____________________.
            I    personally   served   the   summons  on   the   individual at   (place)
             ___________________________________________________________________________
             on (date) _______________________; or
            I left the summons at the individual’s residence or usual place of abode with
             (name)___________________________________________________________, a person of
             suitable age and discretion who resides there, on (date) _________________ and mailed a
             copy to the individual’s last known address; or
            I    served    the   summons    on    (name   of    individual) ______________
             _________________________________________________ , who is designated by law to
             accept      service    of     process     on     behalf      of   (name      of
             organization)________________________________________________________________
             _________________________on(date)______________________ ; or
            I    returned  the    summons       unexecuted             because______________________
             ______________________________ ; or
            Other         (specify):_____________________________________________________
             _________________________________________________________________.

      My fees are $_______for travel and $________ for services, for a total of $__________.
      I declare under penalty of perjury that this information is true.
      Date:_____________________________

                                           __________________________________________
                                                             Server’s signature

                                           __________________________________________
                                                             Printed name and title

                                            __________________________________________
                                                              Server’s address
Additional information regarding attempted service, etc:

______________________________________________________________________________
